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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

                                                  )
  UNITED STATES OF AMERICA,                       )
                                                  )
  v.                                              ) Crim No. 3:22-cr-00071-SVN
                                                  )
  GLENCORE LTD.                                   )
                                                  )


               UNOPPOSED MOTION FOR ADJOURNMENT OF SENTENCING

       Petróleos Mexicanos (“PEMEX”) and its wholly-owned subsidiary P.M.I. Trading DAC

(“PMI”), the entities who are victims in the above-captioned action, hereby move the Court for

an adjournment of the sentencing hearing currently scheduled for June 24, 2022, to afford

PEMEX and PMI sufficient time to exercise their right to seek restitution under the Crime

Victims Restitution Act, 18. U.S.C. § 3771 (“CVRA”) and the Mandatory Victims Restitution

Act, 18 U.S.C. § 3663A (“MVRA”). In support of this Motion, PEMEX and PMI state:

       1.       On May 24, 2022, defendant Glencore pled guilty to conspiring to commit

commodity price manipulation in violation of 18 U.S.C. § 371. D.E. No. 18, Plea Agreement

¶ 1. Glencore conspired to manipulate two fuel oil benchmark prices in order to increase profits

and reduce costs on its contracts for physical fuel oil. Id. ¶ 13; Statement of Facts ¶ 7.

       2.        The Statement of Facts identifies PMI (referred to therein as “Trading Firm A”)

as a counterparty to Glencore on these fraudulent transactions and as a victim of the scheme.

Statement of Facts ¶¶ 7–20. Moreover, because PMI operated as the trading arm of PEMEX

(identified in the Statement of Facts as “National Oil Company A”), PEMEX also suffered losses

and was a victim of the scheme.

       3.       PEMEX and PMI first learned the basis of their claim for restitution when they

reviewed the Statement of Facts after it was unsealed on May 26, 2022.
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       4.       Since learning about the basis of their restitution claim, PEMEX and PMI have

been working diligently to confirm the details of their losses by exercising their right under the

CVRA to confer with the Government and by retrieving and reviewing relevant records. 18

U.S.C. § 3771(a)(5). Counsel for PEMEX and PMI have had several conversations with the

Government to work through the issue of restitution as well, but more information is needed to

present an accurate statement to the Court.

       5.       PEMEX and PMI request additional time to continue to confirm the details of

their losses and to prepare a submission to the Probation Office and to the Court. The Probation

Office will then need time to review the submission, and the parties will need time to review and

respond to the submission.

       6.       Undersigned counsel has conferred with counsel for the Government, counsel for

defendant Glencore, and the United States Probation Officer assigned to this case, and there is no

objection to the adjournment.

       7.       Because counsel for the Government is beginning a trial that is set to run through

early August, PEMEX and PMI request an adjournment to a date after September 5, 2022, to

give the Government sufficient time to confer further with PEMEX and PMI, pursuant to 18

U.S.C. § 3771(a)(5), and thereafter to review and respond to any submission that PEMEX and

PMI make to Probation and the Court.

       WHEREFORE, PEMEX and PMI respectfully request that the Court adjourn Glencore’s

sentencing to a date after September 5, 2022, that is convenient for the Court.




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                                      Respectfully submitted,
                                      PEMEX and PMI,
                                      by their attorneys



Dated: June 17, 2022                 /s/ Ross H. Garber
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system on June 17, 2022,
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF), and a paper copy will be sent by mail to non-registered participants.

                                               /s/ Ross H. Garber
                                               Ross H. Garber




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